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                              ORAL ARGUMENT NOT YET SCHEDULED
  No. 23-1157 (consolidated with Nos. 23-1181, 23-1183, 23-1190, 23-1191, 23-
 1193, 23-1195, 23-1199, 23-1200, 23-1201, 23-1202, 23-1203, 23-1205 23-1206,
  23-1207, 23-1208, 23-1209, 23-1211, 23-1306, 23-1307, 23-1314 23-1315, 23-
                                1316, 23-1317)
____________________________________________________________________________________________________________________________________________________________



                                    IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE DISTRICT OF COLUMBIA CIRCUIT
____________________________________________________________________________________________________________________________________________________________



            STATE OF UTAH, by and through its Governor, SPENCER J. COX,
                     and its Attorney General, SEAN D. REYES,
                                                                                    Petitioner,
                                                                            v.
      ENVIRONMENTAL PROTECTION AGENCY and MICHAEL S. REGAN,
                      Administrator, U.S. EPA,
                                                                                    Respondents.
____________________________________________________________________________________________________________________________________________________________


                                      On Petitions for Review of a Final Rule
                                   of the U.S. Environmental Protection Agency
____________________________________________________________________________________________________________________________________________________________



    BRIEF OF AMICUS CURIAE AMERICAN EXPLORATION AND
  PRODUCTION COUNCIL IN SUPPORT OF INDUSTRY PETITIONERS
____________________________________________________________________________________________________________________________________________________________




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                  CERTIFICATE AS TO PARTIES, RULINGS,
                          AND RELATED CASES

      Pursuant to Circuit Rule 28, counsel for the American Exploration and

Production Council certifies as follows:

A.    Parties

      All parties, intervenors, and amici appearing before the district court and in

this court are listed in the Joint Opening Brief of Industry Petitioners with the

exception of movant-amicus AXPC and potential other movant-amici in support of

petitioners.

B.    Rulings Under Review

      References to the rulings at issue appear in the Joint Opening Brief of Industry

Petitioners.

C.    Related Cases

      Related cases are listed in the Joint Opening Brief of Industry Petitioners.


August 22, 2024                                Respectfully submitted,

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Circuit Rule 29(b), Rule 26.1 of the Federal Rules of Appellate

Procedure and Circuit Rule 26.1, the American Exploration and Production Council

makes the following disclosures:

      The American Exploration and Production Council is a District of Columbia

nonprofit trade organization that represents the U.S. oil and gas industry before the

national executive, legislative, and judicial branches of government. It has no parent

corporation, and no publicly held company owns ten percent or more of its stock.




                                               /s/ Charlotte H. Taylor
                                               CHARLOTTE H. TAYLOR




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                         RULE 29(d) CERTIFICATION

      Pursuant to D.C. Cir. R. 29(d), amicus certifies that a separate brief is

necessary because amicus, the American Exploration and Production Council, which

represents producers of natural gas that ship gas on pipelines affected by the Good

Neighbor Rule, has a unique perspective and expertise on issues raised in this appeal.

It seeks to address only those issues for which that perspective and expertise are

most relevant. Amicus believes that a separate brief is required to offer this unique

perspective and expertise.




                                                /s/ Charlotte H. Taylor
                                                CHARLOTTE H. TAYLOR




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                                 GLOSSARY

AXPC:      American Exploration and Production Council

EGU:       electric generating unit
EPA:       Environmental Protection Agency

FERC:      Federal Energy Regulatory Commission

INGAA:     Interstate Natural Gas Association of America




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                        INTEREST OF AMICUS CURIAE

      The American Exploration and Production Council (“AXPC”) is a national

trade association representing 34 leading natural gas and oil exploration and

production companies. AXPC’s mission is to constructively and thoughtfully work

for sound energy, environmental, and related domestic public policies that encourage

the responsible exploration, development and production of natural gas and oil to

meet the needs of consumers and fuel the nation's economy. AXPC’s members

depend on the consistent and reliable operation of natural-gas pipelines to deliver

their production to market. 1




      1
         Pursuant to Fed. R. App. P. 29(a)(4)(E), amicus curiae states that no
counsel for a party authored this brief in whole or in part, and no party or counsel
for a party contributed money intended to fund the preparation or submission of
this brief. No person other than amicus curiae, its members, or its counsel
contributed money intended to fund the preparation or submission of this brief.
                                          1
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                                 INTRODUCTION

      Natural-gas pipelines form a key portion of this country’s energy

infrastructure, ensuring the consistent availability of power to millions of businesses

and citizens in all regions, even—indeed, especially—at times when hot or cold

weather causes intense energy demand. In its rulemaking process, however, the

Environmental Protection Agency failed to account for reliability concerns in this

important sector. From start to finish, it underestimated and ignored the problems

threatened by taking hundreds of pipeline compression engines offline for upgrades

within the agency’s unrealistic 3-year timeline. In its initial proposal, the agency

estimated that approximately 300 engines would be affected and did not evaluate the

impact on the affected pipeline systems. Commenters made clear that the true

number was multiple times higher and pointed out that taking hundreds of engines

offline within EPA’s proposed 3-year timeline would undermine reliable natural gas

service. In its final rule, EPA acknowledged that its rule applied to more than 3,000

engines and that more than 900 would likely need controls. Despite the admittedly

greater scope of the rule, EPA ignored commenters’ concerns about capacity and

reliability during the compressed 3-year compliance timeline. This was arbitrary

and capricious. EPA’s flawed decisionmaking will have a severe impact on natural-

gas producers such as AXPC’s members, which depend entirely on the reliable

operation of pipelines to move production continuously to market.
                                          2
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                                BACKGROUND

      1. In order to meet air quality standards established by EPA in 2015, EPA

proposed a federal implementation plan under 42 U.S.C. § 7410(c), addressing the

interstate transport of ozone across twenty-three States. Federal Implementation

Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient

Air Quality Standard, 87 Fed. Reg. 20036 (Apr. 6, 2022) (the “Proposed Rule”).2

Among other measures, EPA proposed to establish regulatory requirements for

nitrogen oxide emissions from pipeline engines with a capacity of at least 1,000

horsepower. Id. at 20142. To meet the standards, pipelines would have to retrofit

their engines with various emission-control components and begin monitoring

emissions. Id. EPA estimated that its proposal would affect 307 engines. Id. at

20090.

      For all “non-EGU” sources, including pipeline engines, EPA proposed that

controls be completed by May 2026, asserting that the timing was “presumptively

reasonable and achievable.” Id. at 20101. EPA also claimed that the deadline was

necessary to make up for time lost in promulgating state and federal implementation

plans to meet the 2015 standards. Id. at 20102. EPA did not indicate that it had any

data or analysis showing that the timeline was reasonable or achievable in practice.


      2
        Available at https://www.govinfo.gov/content/pkg/FR-2022-04-
06/pdf/2022-04551.pdf
                                         3
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      2. The Interstate Natural Gas Association of America (INGAA) and various

pipeline companies filed comments on the proposal. Among other issues, the

pipelines observed that EPA had severely underestimated the number of affected

engines. INGAA counted 1,380 engines owned by its members that would need new

or incremental emissions controls. INGAA Cmt. 8-9.3 Kinder Morgan alone had

950 engines captured by the rule, with the majority requiring controls. Kinder

Morgan Cmt. 4. 4

      The pipelines then pointed out that retrofitting 1,400 or more engines during

the same three-year period—more than one engine per day—was not possible, given

the limited supply of vendors and manufacturers able to perform the work and

provide the custom parts needed. E.g. INGAA Cmt. 33-41 (discussing a technical

report concluding that, given supplies of labor and components, only 75 engines per

year can be retrofitted, not including potential permitting bottlenecks at FERC);

Kinder Morgan Cmt. 28 (only two vendors currently have the capability to retrofit

some classes of engine).

      Furthermore, the pipelines pointed out that EPA had not analyzed what effect


      3
        Comments of the Interstate Natural Gas Association of America (June 21,
2022), available at https://www.regulations.gov/comment/EPA-HQ-OAR-2021-
0668-0501
      4
         Comments of Kinder Morgan, Inc. (June 21, 2022), available at
https://www.regulations.gov/comment/EPA-HQ-OAR-2021-0668-0350
                                        4
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the retrofitting of 1,400 engines in three years would have on the reliability of natural

gas service, demand for which is highly seasonal. That timeline would necessitate

taking multiple engines offline simultaneously, including during peak winter and

summer seasons, resulting in potential reductions in service, especially if

unscheduled engine outages occur at the same time.               INGAA Cmt. 41-42

(simultaneous retrofits “will greatly reduce throughput throughout the nation,” likely

including during “peak” seasons when “pipelines operate at full capacity and need

all of their compressor units available to run”); TC Energy Cmt. 2, 12-13

(simultaneous retrofits on the same pipeline mean that any “malfunction” while

engines are offline would have “serious consequences” for consumers, but “[n]either

the Proposed Rule nor any of the technical support documents currently in the docket

provide any substantive analysis of reliability issues”) 5; Kinder Morgan Cmt. 36

(simultaneous retrofits could lead to “periodic outages”); Berkshire Hathaway Cmt.

51 (there is “no evidence in the Proposed Rule that EPA considered” the reliability

impact when “hundreds of pipeline [engines] would need to come offline during a

very short window of time”). 6


      5
         Comments of TC Energy (June 21, 2022), available at
https://www.regulations.gov/comment/EPA-HQ-OAR-2021-0668-0380
      6
        Comments of Berkshire Hathaway Energy Company (June 21, 2022),
available at https://www.regulations.gov/comment/EPA-HQ-OAR-2021-0668-
0554
                                           5
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      3. After the notice-and-comment period, EPA promulgated a final rule,

including regulations for pipeline engines. Federal “Good Neighbor Plan” for the

2015 Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 36654 (June 5,

2023) (the “Rule”). 7 The Rule admitted that EPA’s 1,000-horsepower threshold

“captured more units than the EPA intended” but maintained the same threshold. Id.

at 36819-20.

      The Rule made two changes to the number of engines affected. It exempted

“emergency engines,” which are “typically used only a few hours per year.” Id. at

36821. And it provided that pipelines may request “facility-wide averaging,”

meaning that if a compression facility contains multiple engines, a pipeline may be

able to install retrofits only on some subset of the facility’s engines. Id. at 36823.

All told, EPA estimated that, of the 3,005 engines ultimately captured by the Rule,

905 engines would need retrofits to comply. NOx Emission Control Technology

Installation Timing for Non-EGU Sources 30-31 (Mar. 14, 2023) (“Timing

Report”). 8

      EPA published a document responding to comments in connection with its


      7
        Available at https://www.govinfo.gov/content/pkg/FR-2023-06-
05/pdf/2023-05744.pdf
      8
       Available at https://www.epa.gov/system/files/documents/2023-
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Rule. Response to Public Comments on Proposed Rule (April 6, 2022).9 In the

document, EPA acknowledges the reliability concerns raised by the pipelines. Id. at

625-26. And it points to the Timing Report for at least a “discussion” of system

reliability. Id. at 626. As explained below, however, that report does not discuss

reliability, much less engage in any substantive analysis of the impact of EPA’s Rule

on gas transportation service.

                                   ARGUMENT

I.    EPA’s Failure to Consider the Impact of Its Compliance Timeline on the
      Reliability of Natural Gas Service Was Arbitrary and Capricious.

      EPA promulgated its Rule without addressing commenters’ point that

simultaneously retrofitting hundreds of pipeline engines would undermine the

pipeline system’s reliability. EPA’s failure to consider that issue was arbitrary and

capricious.

      A.      EPA failed to provide an adequate response to significant
              comments.

      1. Under the APA, agency action is arbitrary and capricious when an agency

fails to “adequately explain its result and respond to relevant and significant public

comments.” Bloomberg L.P. v. SEC, 45 F.4th 462, 476 (D.C. Cir. 2022). The

agency’s response “must be sufficient to enable the courts to see what major issues


      9
       Also available at https://www.epa.gov/system/files/documents/2023-
03/Response%20To%20Comments%20Document%20Final%20Rule.pdf
                                          7
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of policy were ventilated and why the agency reacted to them as it did.” Id. (cleaned

up).   Significant comments can include “significant concerns about the costs

associated with a proposed rule,” id. at 477, or “relevant statutory objections and

factors the [agency] was required to consider,” Carlson v. Postal Regul. Comm’n,

938 F.3d 337, 345 (D.C. Cir. 2019).

       In Delaware Department of Natural Resources & Environmental Control v.

EPA, for example, EPA acknowledged that it “heard” commenters’ arguments

regarding the “perverse effect” of certain programs on electric-grid reliability, but

EPA “refused to engage” with the arguments and attempted to “pass[] the entire

issue off onto” FERC, resulting in arbitrary and capricious action. 785 F.3d 1, 15–

16 (D.C. Cir. 2015). Likewise in Appalachian Power Co. v. EPA, EPA failed to

respond to comments questioning its classification of “cogenerators” for purposes

of emissions standards, leaving the court to “guess whether its decision was ‘based

on a consideration of the relevant factors.’” 249 F.3d 1032, 1063 (D.C. Cir. 2001)

(per curiam) (citation omitted).

       2. Here, EPA’s Rule is arbitrary and capricious because the agency again

failed to engage with significant comments concerning the effect of its compliance

timeline on the reliability of natural gas service. As explained above, multiple

commenters specifically highlighted that EPA was regulating pipeline engine

emissions for the first time, mandating that pipelines take hundreds of engines
                                         8
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offline in a concentrated period of time, with no analysis of the effect on the

pipelines’ ability to provide reliable transportation during peak demand.

      EPA admitted that the Rule captured many hundreds more engines than

anticipated and specifically acknowledged comments on reliability, summarizing

commenters’ concerns that EPA’s schedule “will result in serious reliability

implications” and that “the EPA has not assessed (e.g., no technical support

documents or substantive analysis)” the effects on reliability.         Response to

Comments at 625. EPA noted the concern that, given the brief compliance timeline,

periods of lost capacity due to engine downtime “will likely extend over times of

‘peak’ demand” in winter and summer. Id. And EPA acknowledged calls to “tailor

the rule to prevent serious and predictable reliability problems.” Id. at 626. So far,

so good.

      But EPA never actually addressed the comments or considered the impact of

the Rule on reliability. EPA’s sole response was to point to a specific section of the

Timing Report: “Section 4.3 of this study also discusses the EPA’s consideration of

system reliability for the pipeline transportation of natural gas due to control

installation timing.” Id. at 626. But Section 4.3 does no such thing. That section of

the report merely provides an estimate of the length of time required to install

controls on a “single unit.” Timing Rept. 31-32. Other portions of the Timing

Report discuss the amount of time necessary to install controls on all affected
                                          9
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engines in light of constraints in the supply of parts and skilled labor. E.g., id. at 59-

61.   Nowhere, however, does the Timing Report purport to analyze whether

retrofitting hundreds of engines can be done in three years without reducing pipeline

capacity, or even in a way to mitigate any reduction to capacity or reliability,

especially during periods of peak demand. In short, EPA ignored the issue entirely.

      3. On appeal, in opposing requests for a stay, EPA attempted to backfill this

hole, claiming that the Timing Report does discuss reliability. EPA points not to

Section 4.3 but to pages ES-8 and 8, where the report notes the “relatively modest”

average capacity utilization of natural gas compression, and that FERC requires

pipelines “to retain sufficient compression capacity to meet demand on peak demand

days.” EPA Opp. to Mots. to Stay at 45, 55-56, No. 23-1157 (Aug. 18, 2023), Doc.

2013255.     EPA’s attorneys argue that these capacity figures and FERC’s

requirement “suggest[] that pipeline operators have sufficient capacity to manage

unit outages.” Id. at 55-56.

      The problem with this theory is that the Timing Report itself never drew that

conclusion. The only statement the report does make is to suggest that low average

utilization “may” mean that pipelines will have the ability to coordinate FERC

review of pipeline upgrades, though with the disclaimer that “we were not able to

complete an evaluation” of the issue. Timing Rept. ES-8. The report does not draw

any conclusions from the average capacity utilization figures on page 8. EPA cannot
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in this litigation adopt a retroactive finding that it never made in promulgating its

rule. “[C]ourts may not accept appellate counsel’s post hoc rationalizations for

agency action.” Motor Vehicle Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins., 463

U.S. 29, 50 (1983). Nor can EPA hide behind FERC’s requirement that pipelines

maintain sufficient capacity to meet peak demand—that is precisely what the

pipelines fear is not possible under EPA’s timeline. See Delaware Dep’t of Nat.

Res., 785 F.3d at 16 (“EPA” may not “excuse its inadequate responses by passing

the entire issue off onto a different agency. Administrative law does not permit such

a dodge.”).

      Nor could the Timing Report have adopted that position based on average

capacity utilization figures. As the commenters explained to EPA, which EPA

acknowledged, demand for natural gas transportation is highly seasonal, and surges

in demand, especially during winter months when heating requirements are highest,

can max out pipelines’ capacity. Response to Comments 625 (“The commenter

explains that during these peak periods, pipelines operate at full capacity and need

all of their compressor units available to run.”). Reliability is also location-specific.

See id. at 626 (noting concern that new regulation would require taking offline

“multiple units within a facility and/or at nearby compressor stations on the same

pipeline”). In light of the cyclical nature of service demand and on-the-ground

logistics of retrofitting engines on different pipelines, high-level statistics about
                                           11
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average utilization do not and could not support a finding that EPA’s strict

compliance timeline will not undermine pipeline reliability. The Timing Report did

not make that determination, and EPA cannot do so for the first time in this appeal.

      In sum, EPA’s Rule is the result of arbitrary and capricious decisionmaking.

EPA claimed to respond to comments pointing out that EPA had no idea whether its

rule and compliance timeline would affect reliability, but it never actually

responded. There is no way for courts or regulated parties “to see what major issues

of policy were ventilated and why the agency reacted to them as it did.” Bloomberg

L.P., 45 F.4th at 476-77 (cleaned up). This Court should vacate and remand.

      B.    EPA failed to consider an important aspect of the Rule.

      Agency action is also arbitrary and capricious if the agency “entirely failed to

consider an important aspect of the problem,” unless “‘the agency’s path may

reasonably be discerned.’” State Farm, 463 U.S. at 43 (citation omitted); accord

Util. Solid Waste Activities Grp. v. EPA, 901 F.3d 414, 430 (D.C. Cir. 2018) (per

curiam) (“one of the hallmarks of arbitrary and capricious reasoning”).          This

principle does not bind the agency to take any particular position—only to engage

with all of the important aspects of an issue, as part of a process of reasoned

decisionmaking. Compare Am. Petroleum Inst. v. EPA, 684 F.3d 1342, 1350 (D.C.

Cir. 2012) (upholding EPA action where EPA at least “acknowledge[d] the

limitations inherent in its own study” on which it relied), with Physicians for Soc.
                                         12
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Resp. v. Wheeler, 956 F.3d 634, 647-48 (D.C. Cir. 2020) (reversing “intolerably

mute” EPA decision that “fail[ed] to grapple with how EPA’s policy affected its

statutory scientific mandates”).

      Here, EPA promulgated regulations governing pipeline engines that require

pipelines to take hundreds of engines offline in a relatively short period, but EPA

failed entirely to consider whether pipelines could complete the retrofits without

undermining pipeline service, especially during periods of peak demand. When

EPA first published the Proposed Rule, the agency plainly had not considered the

practical implications of its proposed compliance timeline. EPA did not even realize

how many engines the regulations would sweep in, much less the effect of retrofits

on natural gas service. After commenters pointed out the true scope and practical

impact of the rule, EPA tripled its estimate of affected engines. Despite that dramatic

expansion, and despite commenters’ concerns, EPA remained mute on the Rule’s

effect on reliability, rendering its action arbitrary and capricious.

      Nor can EPA now claim that pipeline reliability is not a “significant aspect”

of regulating pipeline-engine emissions. EPA did not treat the issue that way below,

instead acknowledging commenters’ concerns and claiming (wrongly) that it did

address those concerns in the Timing Report. Furthermore, EPA spent many pages

addressing commenters’ similar concerns about the effect of the Rule on the

reliability of electric generation—there too, “the central reliability-related concern
                                           13
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was identified as one of timing.” See Rule, 88 Fed. Reg. at 36772. In response, EPA

claimed to have “adopt[ed] several changes from the proposal to help address the

reliability-related concerns.” Id. With regard to gas-service reliability, however,

EPA did not analyze the impact on reliability, much less adopt changes in response

to the concerns expressed in stakeholders’ comments, resulting in arbitrary and

capricious decisionmaking.

II.   Any Detrimental Impact to Pipeline Reliability Will Cause Serious Harm
      to Producers.

      EPA’s casual approach to the reliability of the nation’s gas pipelines risks

inflicting serious harm on natural gas producers and others who depend on the

pipeline’s services. Because of the physics and geography of natural gas production

and consumption and the market forces of supply and demand, the consequences of

curtailment of transportation service falls severely on gas producers, who count on

long-term contracts with pipelines to guarantee reliable access to downstream

markets.

      As others have explained, many pipelines are already running at capacity

during periods of peak demand and do not have the ability to take multiple units

offline. See, e.g., INGAA Mot. for Stay at 25, 870a-879a, No. 23-1181 (July 7,

2023), Doc. 2009836. That state of affairs is unsurprising. Domestic production of

natural gas is at an all-time high. See Federal Energy and Regulatory Commission,


                                        14
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2023 State of the Markets at 24 (Mar. 21, 2024).10 This has allowed for replacement

of coal-fired power plants, with natural gas now comprising 42% of electricity

generation and coal declining nearly 20% in 2023 alone. Id. at 5. Consequently,

that production is critical to the nation’s “energy independence and security,” a

reinvigorated priority in the wake of the invasion of Ukraine. See “Remarks by

President Biden on Actions to Strengthen Energy Security and Lower Costs” (Oct.

19, 2022). 11 The necessary result, however, is that the pipelines are operating at their

maximum level to accommodate delivering record production to the market.

      Furthermore, the tightly regulated system of permitting pipeline construction

and upgrades ensures that the pipeline system remains at or near maximum capacity.

The Natural Gas Act prohibits new pipeline construction unless FERC first issues a

“certificate of public convenience and necessity.” 15 U.S.C. § 717f(c)(1)(A). FERC,

in turn, tends to grant such certificates when a pipeline can show that it has already

pre-sold the new capacity to a shipper via “precedent agreements” and when no

existing shipper has offered to “turn back” their existing claim on pipeline capacity.

See, e.g., Equitrans, L.P., Dkt. No. CP22-44-000, Order Issuing Certificate, 183


      10
        Available at https://www.ferc.gov/news-events/news/presentation-report-
2023-state-markets
      11
         Available at https://www.whitehouse.gov/briefing-room/speeches-
remarks/2022/10/19/remarks-by-president-biden-on-actions-to-strengthen-energy-
security-and-lower-costs/
                                           15
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FERC ¶ 61,200 (June 15, 2023) (precedent agreements for 94% of capacity and no

turnback offers); Transcontinental Gas Pipe Line Company, LLC, Dkt. No. CP21-

94-000, Order Issuing Certificate and Approving Abandonment, 182 FERC ¶ 61,006

(Jan. 11, 2023) (precedent agreement for 100% of capacity for 15-17 years and

relatively small turnback offers).

      Like other pipeline customers, natural gas producers depend on the effective

and reliable functioning of the nation’s pipelines.         Producers pay pipelines

“reservation charges” to reserve the use of a certain portion of a pipeline’s capacity,

and they depend on this access to capacity to undergird production plans and move

gas to consumers. When capacity is curtailed, the economic consequences are severe.

      Producers cannot simply turn production on and off at whim—reducing or

stopping production is complex and can damage future production from a well. See

Jorge Garduno & George King, Managing Risk and Reducing Damage from Well

Shut-Ins, J. of Petroleum Tech. (Apr. 29, 2020).12 Producers must therefore search

for alternate routes to bring their production to customers, if such routes exist. But

there may be few or no alternative routes—the difficulty of constructing new

pipelines often leads to natural monopoly power in various geographic regions.

United Distrib. Cos. v. FERC, 88 F.3d 1105, 1122 (D.C. Cir. 1996) (per curiam)


      12
           Available at https://jpt.spe.org/managing-risk-and-reducing-damage-well-
shut-ins
                                          16
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(“The enormous economies of scale involved in the construction of natural gas

pipelines tend to make the transportation of gas a natural monopoly.”). And even if

there would be under typical circumstances, those routes could be suffering the same

reduction in capacity due to simultaneous efforts to comply with EPA’s rule.

      Barring alternative routes, producers whose access to transportation is

curtailed must sell their production in upstream markets—generally at much lower

prices for a “distressed” sale—and then must work to secure alternative sources of

supply for their downstream customers—this time at much higher prices due to the

last-minute nature of the purchase—in order to fulfill their contracts. It may be that

producers would be entitled to a refund of reservation charges under these

circumstances, at the pipelines’ expense. See INGAA Mot. for Stay 22, 243a. But

the lost revenue from distressed upstream sales and outlays for distressed

downstream purchases can far outstrip the reservation charges at stake.

      For instance, in a recent dispute over the reliability of one pipeline’s service,

one shipper calculated that revenue losses from capacity cuts had cost the shipper

more than twice as much in lost revenue as the shipper had received in reservation

charge credits, amounting to millions of dollars. Antero Res. Corp. v. Columbia Gulf

Transmission, LLC, Dkt. No. RP24-408-000, Comments of SWN Energy Servs. Co.,

LLC (Mar. 21, 2024). In another case, service was cut off during a period of peak

summer demand due to a pressure imbalance at a delivery point, and the shipper—
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which “was forced to dispose of its gas in other markets at lower prices”—lost more

revenue during those weeks than it paid during the entire year in reservation charges,

again amounting to millions of dollars. Brief for Amicus Curiae TotalEnergies Gas

& Power N.A. Inc. at 5, Range Resources-Appalachia, LLC v. FERC, No. 22-1151

(D.C. Cir. Jan. 5, 2023).

      In sum, EPA’s arbitrary and capricious disregard of the impact of its Rule on

natural gas service will severely harm natural gas producers who depend on reliable

transportation. EPA never grappled with the reliability issues that will cause these

harms and, more generally, threaten a stable natural-gas supply for businesses and

consumers around the country.

                                  CONCLUSION

      For the foregoing reasons, the Industry Petitioners’ petition for review

should be granted.




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August 22, 2024                          Respectfully submitted,


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      I hereby certify that the foregoing brief complies with the type-volume

limitation of Fed. R. App. P. 29(a)(5) and Fed. R. App. P. 32(a)(7)(B) because it

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32(f) and D.C. Cir. R. 32(e)(1).

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      I hereby certify that, on this 22nd day of August, 2024, I electronically filed

the original of the foregoing document with the clerk of this Court by using the

CM/ECF system, which will serve the counsel for all parties at their designated

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